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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS AUG - 8
AMARILLO DIVISION SO
SUSAN NEESE, et al., § =!
§
Plaintiffs, §
§
V. § 2:21-CV-163-Z
§
XAVIER BECERRA, in his official §
capacity as the Secretary of the United §
States Department of Health and Human §
Services, ef al., §
§
Defendants. §
NOTICE

Before the Court is parties’ Agreed Stipulation to Dismiss Plaintiff Jeffrey Barke
(“Stipulation”) (ECF No. 39), filed on July 27, 2022. The document is a “stipulation of dismissal
signed by all parties who have appeared.” FED. R. Civ. P. 41(a)(1)(A)(ii). “Except in special
circumstances . . . a voluntary order of dismissal requested by both parties is effective upon filing
and does not require the approval of the court.” Ramming v. Nat. Gas Pipeline Co. of Am., 390
F.3d 366, 369 n.1 (Sth Cir. 2004). Thus, an order of this Court “approving the dismissal is of no
consequence.” Meinecke v. H & R Block of Hous., 66 F.3d 77, 82 (Sth Cir. 1995); see also Nat'l
City Golf Fin. v. Scott, 899 F.3d 412, 415-16 (5th Cir. 2018) (“A stipulation of dismissal . . . strips
the district court of subject-matter jurisdiction.”). Therefore, the Court DIRECTS the United
States District Clerk to terminate Plaintiff Jeffrey Barke.

The Court issues notice accordingly.

August Fg, 2022 tifa"

MIyerED st J. KACSMARYK

Mere STATES DISTRICT JUDGE

 
